      Case 18-02870-JMC-13                    Doc 49        Filed 12/04/18           EOD 12/04/18 19:48:12    Pg 1 of 1


                                         UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF Southern Indiana

                                                       Minute Entry/Order
Hearing Information:
                         Debtor:   JEFFREY OWEN GRACEY
                  Case Number:     18-02870-JMC-13                     Chapter: 13

          Date / Time / Room:      TUESDAY, DECEMBER 04, 2018 01:00 PM IP 325

         Bankruptcy Judge:         JAMES M. CARR
               Courtroom Clerk:    HEATHER BUTLER
                Reporter / ECR:    HEATHER BUTLER                                                                       0.00


Matter:
              Hearing on Trustee's Objection to Confirmation of Amended Plan [39], [46]
              R / M #:   0/ 0


Appearances:

        BRIAN BROTHERS, TRUSTEE


Proceedings:                                                                                                     1.00

        Disposition: Hearing held. Objection sustained. Amended plan to be filed within 30 days.



IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




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